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                                   7                                   UNITED STATES DISTRICT COURT

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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                  11     JULIA JUNGE and RICHARD
                                         JUNGE, on behalf of themselves and a
                                  12     class of similarly situated investors,               No. C 20-00547 WHA
Northern District of California
 United States District Court




                                                                                              Consolidated with C 20-01163
                                  13                    Plaintiffs,                           Related to C 20-02823; MC 22-80051
                                  14             v.

                                  15                                                          RULING RE OBJECTOR JOSE
                                         GERON CORPORATION, and JOHN                          VELAZQUEZ AND ORDER TO
                                         A. SCARLETT,                                         SHOW CAUSE
                                  16
                                                        Defendants.
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                                              With respect to the initial objection filed by Jose Velazquez against the proposed $24
                                  19
                                       million settlement in the above-entitled class action, the record shows the objector did not lose
                                  20
                                       money on the transactions in question, instead, he made an overall gain of $645.66. This is
                                  21
                                       documented at Dkt. No. 270. (Objector Velazquez’s initial objection dated March 10, 2023, is
                                  22
                                       filed at Dkt. No. 59 in 3:22-mc-80051 WHA).
                                  23
                                              Therefore, it would appear that Objector Velazquez is not entitled to any proceeds from
                                  24
                                       the settlement because the settlement should be used to compensate those who lost money, not
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                                       those who made money. Objector Velazquez’s grievance that he is a participant and therefore
                                  26
                                       should get something is incorrect. Only someone who lost money should be compensated.
                                  27

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                                   1           Counsel have provided the Court with a more recent letter by Objector Velazquez, that

                                   2   states in part:
                                                                Since your firm wants to act like a bunch of Greedy Blood
                                   3                     sucking Parasite pieces of shit. This is my new request. Settle with
                                                         me for $10,000 and not a penny more or a penny less to remove me
                                   4                     and only me from the equation of the case.
                                   5                           But, if you don’t, that’s fine.
                                   6                            I will contact the judge and ask for a delay of the settlement
                                                         talks and your recent court filing while I look for other participants in
                                   7                     this Class Action Lawsuit who are being screwed by your firm. If I
                                                         have to hire a lawyer and look for other participants, the 10,000 will
                                   8                     be off the table and it will go up. I will make sure I ask my lawyer
                                                         for more and you will pay my fees because you made this a bigger
                                   9                     issue that it needed to be.
                                  10                           You have one week to decide. I don’t care how you decide, I
                                                         will do what needs to be done and I will play whatever cards I need
                                  11                     to play.
                                  12
Northern District of California




                                       Objector Velazquez’s demands for $10,000 or he will carry out his threat are the hallmarks of the
 United States District Court




                                  13
                                       classic hold up artist, i.e., someone who tries to hold-up a beneficial settlement for the entire
                                  14
                                       class to get more for himself — money that is not deserved or fair. In this case, Objector
                                  15
                                       Velazquez is entitled to zero, yet he wants $10,000. According to the records, the largest
                                  16
                                       purchase he ever made during the class period was for $950. His $10,000 demand has no actual
                                  17
                                       or realistic bearings on his transactions. This is a hold-up threat, a form of extortion.
                                  18
                                               Class counsel are ordered to have no further discussions with Objector Velazquez, and to
                                  19
                                       preserve all records of communications between him and the firm other than for class counsel to
                                  20
                                       immediately mail or email a copy of this order to Objector Velazquez.
                                  21
                                               Objector Velazquez is ordered to appear in-person and to SHOW CAUSE on WEDNESDAY,
                                  22
                                       MAY 24, 2023, AT 10:30 AM why his communications with class counsel should not be referred
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                                       to the United States Attorneys Office for investigation for possible wire fraud or mail fraud or
                                  24
                                       extortion, leaving to that office whether or not to prosecute. Objector Velazquez is entitled to
                                  25
                                       retain a lawyer to appear with him in-person or he may appear in-person for himself. The
                                  26
                                       hearing will be in-person, located in Courtroom 12, 19th floor, at 450 Golden Gate Avenue in San
                                  27
                                       Francisco, California. His written submission is also due in advance of the hearing on
                                  28
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                                   1   WEDNESDAY MAY 10, 2023, BY NOON. It shall be under oath. The deputy clerk shall mail a

                                   2   copy of this order to Objector Velazquez.

                                   3

                                   4          IT IS SO ORDERED.

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                                   6    Dated: April 13, 2023.

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                                                                                           WILLIAM ALSUP
                                   9                                                       UNITED STATES DISTRICT JUDGE
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                                  12
Northern District of California
 United States District Court




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